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    COUVILLION GROUP, LLC.,

                          Plaintiff,

    v.                                             Civil Action No. 4:22:cv-00908


    WHITE MARLIN OPERATING
    COMPANY LLC; AGUA
    TRANQUILLO MIDSTREAM
    LLC; TALCO PETROLEUM LLC;
    TORRENT OIL, LLC;
    & NIGEL SOLIDA,

                          Defendants.


                      NOTICE OF APPEARANCE OF COUNSEL

             NOTICE IS HEREBY GIVEN that Michael Cancienne, of the law firm

Jordan, Lynch & Cancienne PLLC, located at 1980 Post Oak Blvd., Suite 2300, Houston,

Texas 77056, Telephone: (713) 955-4025, Facsimile: (713) 955-4793, hereby appears as

additional counsel of record for Alta Power, LLC. Counsel respectfully requests that all

notices given or required to be given in these proceedings and all papers served or

required to be served in these proceedings be served upon the undersigned via ECF or at

the office, postal address, electronic mail addresses, and facsimile numbers listed below.

             DATED: March 29, 2023
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                                              Respectfully submitted,

                                              JORDAN, LYNCH & CANCIENNE PLLC

                                              By: /s/ Michael Cancienne
                                                   Joseph W. (“Jeb”) Golinkin II
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                                                   Federal ID No. 2515657
                                                   Michael Cancienne
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                                                   jgolinkin@jlcfirm.com

                                              ATTORNEYS FOR DEFENDANTS


                              CERTIFICATE OF SERVICE

           I certify that on March 29, 2023, I served this notice on all counsel of record
via CMECF, which will send notification of this filing to all counsel of record in this case.

                                                      /s/ Michael Cancienne
                                                  Michael Cancienne




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